             Case 1:23-cr-00400-TJK Document 25 Filed 12/19/23 Page 1 of 3



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                 :
                                          :
      PLAINTIFF,                          :
                                          :
            v.                            :                   Criminal No. 23-cr-0400 (TJK)
                                          :
BRYAN R. BISHOP,                          :
                                          :
      DEFENDANT.                          :
__________________________________________:


  DEFENDANT BRYAN R. BISHOP’S MOTION FOR LEAVE TO FILE UNDER SEAL

        The defendant, Bryan R. Bishop, through counsel, hereby moves this Court for an order

 granting the Defendant permission to file under seal Defendant Brian R. Bishop’s Reply to

 Government's Amended Opposition to Defendant's Corrected Motion to Modify Pretrial Release

 Conditions and to file a redacted version on the public docket instead.

        1.     On August 8, 2023, Mr. Bishop was placed on Electronic Monitoring and GPS by

 Magistrate Judge Snow in the Southern District of Florida.

        2.     On August 17, 2023, Mr. Bishop appeared before Magistrate Judge Upadhyaya for

 his initial appearance in Washington, D.C. At that hearing the defendant requested to be released

 on Personal Recognizance and to have the Electronic Monitoring with GPS removed. This request

 was denied.

        3.     Defendant Bishop filed a motion to modify his pretrial release conditions on October

 11, 2023. Mr. Bishop filed the pending motion, which corrected the initial motion to modify his

 pretrial release conditions, on October 20, 2023.

        4.     The Government filed Amended Opposition to Defendant’s Corrected Motion to

 Modify Pretrial Release Conditions on December 18, 2023 (ECF 24).

        5.     Defendant Bryan R. Bishop maintains that the removal of the GPS monitoring device

 from his ankle is a matter of survival for Mr. Bishop, who is an indigent Veteran. Mr. Bishop has
            Case 1:23-cr-00400-TJK Document 25 Filed 12/19/23 Page 2 of 3



been compliant with every pre-trial condition imposed on him. There surely are other conditions

or combination of conditions which will reasonably assure the Mr. Bishop’s appearance as required

and ensure the safety of any other person and the community and that the Court should therefore

approve the defendant's motion to modify the pretrial release conditions. In support of his

arguments, Mr. Bishop will be relying on information concerning his military and medical records

that he shared with the Government.

       As stated in Washington Post v. Robinson, 935 F.2d 282, 288 (D.C. Cir. 1999), there is a

presumption of access to Court proceedings. But, this can be overridden if “‘(1) closure serves a

compelling interest; (2) there is a substantial probability that, in the absence of closure, this

compelling interest would be harmed; and (3) there are no alternatives to closure that would

adequately protect the compelling interest.’” Id. at 290 (quoting Oregonian Pub. Co. v. United

States Dist. Court, 920 F.2d 1462, 1466 (9th Cir. 1990)).

       6.     On December 15, 2023, the Court granted a sealing Order for the Government’s

Opposition. (See ECF Nos. 23, and 24). A sealing order for Mr. Bishop’s Reply will ensure that

sensitive health information concerning Mr. Bishop medical records is protected from public

disclosure.

       WHEREFORE, Mr. Bishop respectfully requests that this Court issue an Order directing

the Clerk of the Court place and maintain under seal Defendant Bryon R. Bishop’s Reply to

Government’s Amended Opposition to Defendant's Corrected Motion to Modify Pretrial Release

Conditions and that the Clerk of Court instead publicly docket a redacted version of that

memorandum.

                                    Respectfully submitted,
                                    SECIL Law PLLC

                            By:     /s/ Lionel André
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           Case 1:23-cr-00400-TJK Document 25 Filed 12/19/23 Page 3 of 3



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                                      CERTIFICATE OF SERVICE

       I hereby certify that on December 19, 2023, I caused a copy of the foregoing motion to be

served on Holly F. Grosshans via the Court’s electronic filing system.


                                     /s/ Lionel André
                                     Lionel André
